                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE
      ________________________________________________________________________

      UNITED STATES OF AMERICA,
           Plaintiff,

             vs.                                         CASE NO. 2:18-CR-00017-019

      JOHN ROOSEVELT FARNER,
            Defendant.
      ________________________________________________________________________

           MOTION FOR CONTINUANCE OF SENTENCING MEMORANDUM
      ________________________________________________________________________

             COMES NOW the Defendant, John Roosevelt Farner, by and through counsel,
      and moves the Court to continue the deadline for the sentencing memorandum, currently
      due January 21, 2020, to and including January 24, 2020.
         1. Counsel needs additional time to finish evaluating the case and properly prepare
             the memorandum.
         2. Additionally, counsel has been forced to spend a large amount of time preparing
             for the jury trial of State v. Robert Atwell, Washington County, Tennessee case
             number 90CC1-2018-CR-44381, scheduled for January 22, 2020.
         3. The Defendant is not asking for the sentencing hearing to be continued, only the
             date of the sentencing memorandum.
         4. The Government is not opposed to this motion.


                                                         Respectfully submitted,


                                                         s/ Gene G. Scott, Jr._________
                                                         Gene G. Scott, Jr. #021681
                                                         Attorney for Defendant
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                                                         P. O. Box 575
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                                                           (423) 753-0460




                                  CERTIFICATE OF SERVICE

               The undersigned hereby certifies that on the 21st day of January 2020 a true and
      exact copy of the foregoing was filed electronically. Notice of this filing was sent by
      operation of the courts electronic filing system to all parties indicated on the electronic
      filing receipt.

                                                           s/ Gene G. Scott, Jr._________
                                                           Gene G. Scott, Jr.




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